21-11298-lgb         Doc 45      Filed 09/07/21 Entered 09/07/21 12:24:04       Main Document
                                              Pg 1 of 2



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re                                                          Case No. 21-11298-LGB
                                                               Chapter 11
286 RIDER AVENUE ACQUISITION, LLC,

                                             Debtor.
-----------------------------------------------------------X

                 NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

        PLEASE TAKE NOTICE that Jacobs, P.C. hereby appears on behalf of 286 Rider Ave.

Development LLC and requests, pursuant to Federal Rules of Bankruptcy Procedure 2002, 9007

and 9010 and 11 U.S.C. §§ 102(1) and 342, that all notices given or required to be given in this

case and all papers served or required to be served in this case, be given and served upon the

undersigned at the following office address, telephone number and email address:

                                             JACOBS, P.C.
                                       Attorneys for286 Rider Ave.
                                            Development LLC
                                     667 Madison Avenue - 5th Floor
                                          New York, NY 10065
                                    Wayne M. Greenwald, of Counsel
                                             (718) 228-2576
                                         grimlawyers@aol.com

        PLEASE TAKE FURTHER NOTICE, that the foregoing request includes, but is not

limited to, the notices and papers referred to in the Bankruptcy Rules specified of any

application, motion, petition, pleading, request, complaint or demand, whether formal or

                                                    - 1 -
21-11298-lgb      Doc 45    Filed 09/07/21 Entered 09/07/21 12:24:04            Main Document
                                         Pg 2 of 2



informal, whether written or oral and whether transmitted or conveyed by mail, delivery,

telephone telegraph, telex, facsimile transmission or otherwise, which affect the Debtor or

property of the Debtor.

Dated: New York, New York
       September 7, 2021                             JACOBS, P.C.
                                                     Attorneys for 286 Rider Ave.
                                                     Development LLC
                                                     667 Madison Avenue - 5th Floor
                                                     New York, NY 10065
                                                     (718) 228-2576

                                                     By: /s/ Wayne M. Greenwald Of Counsel
                                                             Wayne M. Greenwald




                                            - 2 -
